Case 3:19-cv-00146-RLY-MPB Document 15 Filed 02/23/21 Page 1 of 8 PageID #: 129




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    EVANSVILLE DIVISION

 ANTHONY R. KERN,                                        )
                                                         )
                                Petitioner,              )
                                                         )
                           v.                            )        No. 3:19-cv-00146-RLY-MPB
                                                         )
 UNITED STATES OF AMERICA,                               )
                                                         )
                                Respondent.              )

                Order Discussing Motion for Relief Pursuant to 28 U.S.C. § 2255
                           and Denying Certificate of Appealability

          For the reasons discussed in this Order, the motion of Anthony Kern for relief pursuant to

 28 U.S.C. § 2255 must be denied and the action dismissed with prejudice. In addition, the Court

 finds that a certificate of appealability should not issue.

                                              I. Legal Standard

          A motion pursuant to 28 U.S.C. § 2255 is the presumptive means by which a federal

 prisoner can challenge his conviction or sentence. See Davis v. United States, 417 U.S. 333, 343

 (1974). A court may grant relief from a federal conviction or sentence pursuant to § 2255 "upon

 the ground that the sentence was imposed in violation of the Constitution or laws of the United

 States, or that the court was without jurisdiction to impose such sentence, or that the sentence was

 in excess of the maximum authorized by law, or is otherwise subject to collateral attack." 28 U.S.C.

 § 2255(a). "Relief under this statute is available only in extraordinary situations, such as an error

 of constitutional or jurisdictional magnitude or where a fundamental defect has occurred which

 results in a complete miscarriage of justice" Blake v. United States, 723 F.3d 870, 878-79 (7th Cir.

 2013).
Case 3:19-cv-00146-RLY-MPB Document 15 Filed 02/23/21 Page 2 of 8 PageID #: 130




                                        II. Factual Background

           The facts of Kern's criminal conduct, as stipulated by the parties in Kern's plea agreement,

 are as follows.

           Beginning at least as early as October 1, 2014, the defendant knowingly,
           intentionally, and willfully entered into an unlawful agreement with other persons
           in the "Kern Methamphetamine Drug Trafficking Organization" to distribute
           methamphetamine.

           From approximately October 1, 2014, until July 1, 2015, the defendant obtained
           more than 1.5 kilograms of methamphetamine ice, but less than 4.5 kilograms of
           methamphetamine ice, all of which defendant distributed to other members or
           associates of the Kern Methamphetamine Drug Trafficking Organization in the
           Southern District of Indiana.

           During the period of the defendant's involvement, the defendant and other members
           of the Kern Methamphetamine Drug Trafficking Organization distributed
           methamphetamine and conducted other acts in furtherance of the unlawful
           agreement, in the Southern District of Indiana and elsewhere.

           The defendant knew that the substances that the defendant distributed were
           controlled substances.

 United States v. Kern, 3:15-cr-00039-RLY-CMM-1 (hereinafter "Crim. Dkt."), dkt. 46 at 7-8. On

 September 30, 2015, an indictment (the "Indictment") was filed against Kern, charging that he

 conspired to possess with intent to distribute and to distribute 500 grams or more of a mixture or

 substance containing methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(a)(1). See Crim

 Dkt. 1.

           On May 10, 2018, Kern entered into a plea agreement pursuant to Federal Rule of Criminal

 Procedure 11(c)(1)(B) and agreed to plead guilty to the charges in the Indictment. See Crim. Dkt.

 46. Both parties agreed and stipulated to a factual basis that supported a conviction for the charges.

 Id. at 7-8. The parties also stipulated to a sentence of 216 months' imprisonment. Id. at 4. Kern

 agreed to waive his right to appeal his conviction and sentence if the Court sentenced him in

 accordance with the plea agreement. Id. at 9-10. Kern further agreed not to contest or seek to
Case 3:19-cv-00146-RLY-MPB Document 15 Filed 02/23/21 Page 3 of 8 PageID #: 131




 modify his conviction or sentence or the manner in which they were determined in any later legal

 proceeding, including but not limited to an action brought under 28 U.S.C. § 2255. Id. at 10-11.

        On June 11, 2018, the Court accepted Kern's plea of guilty, finding that a factual basis

 existed for the plea and that the plea was voluntarily made. See Crim Dkt. 49. On August 27,

 2018, the Court sentenced Kern to 216 months' imprisonment in accordance with the terms of the

 plea agreement. See Crim Dkt. 54. Kern did not appeal his conviction or sentence. On July 26,

 2019, Kern filed the presently pending § 2255 petition. Dkt. 1-2.

                                           III. Discussion

        Kern argues that he is entitled to relief because he received ineffective assistance of counsel

 and his plea was not voluntary. For the reasons below, the Court finds that Kern's arguments are

 without merit.

        A. Ineffective Assistance of Counsel

        A petitioner claiming ineffective assistance of counsel bears the burden of showing (1) that

 trial counsel performed deficiently and (2) that this deficiency prejudiced the defense. Strickland

 v. Washington, 466 U.S. 668, 688-94 (1984); Delatorre v. United States, 847 F.3d 837, 844 (7th

 Cir. 2017). If a petitioner cannot establish one of the Strickland prongs, the Court need not consider

 the other. Groves v. United States, 755 F.3d 588, 591 (7th Cir. 2014).

        The right to effective assistance of counsel "extends to the plea-bargaining process." Lafler

 v. Cooper, 566 U.S. 156, 162 (2012). The Strickland two-part test "applies to challenges to guilty

 pleas based on ineffective assistance of counsel." Hill v. Lockhart, 474 U.S. 52, 58 (1985). The

 performance inquiry requires the petitioner to show that counsel's representation fell below an

 objective standard of reasonableness. Lafler, 566 U.S. at 163. To establish prejudice, a defendant

 "must show that there is a reasonable probability that, but for counsel's unprofessional errors, the
Case 3:19-cv-00146-RLY-MPB Document 15 Filed 02/23/21 Page 4 of 8 PageID #: 132




 result of the proceeding would have been different." Id. (internal quotation marks and citation

 omitted).

        In his petition, Kern raises two grounds for ineffective assistance of counsel: (1) that his

 counsel was ineffective during plea negotiations, and (2) that his counsel failed to object or request

 a downward departure to his criminal history category. See dkt. 2 at 5-10. The Court will consider

 each argument in turn.

                1.   Plea Negotiations

        First, Kern argues that his counsel was ineffective during plea negotiations because Kern

 believes that he could have received a more beneficial plea agreement. Id. at 5-7. However, as

 the respondent correctly points out, Kern's counsel's performance cannot be deemed deficient for

 that reason. See Bethel v. United States, 458 F.3d 711, 720 (7th Cir. 2006) ("Whether [trial counsel]

 could have negotiated a better plea deal is irrelevant to the issue of prejudice in the ineffective

 assistance of counsel context."). Furthermore, nothing in the record supports Kern's contention

 that a more favorable plea agreement was ever offered by the government. To the contrary, the

 sentencing transcript reflects that counsel for the government "[did] not have approval" for a

 different plea. Dkt. 60 at 21. In response to Kern's questions about a potential, different plea offer,

 counsel for the government unequivocally explained to Kern, "Just so you understand, when you

 say plea, there was really only one plea that was essentially written up and approved by my

 supervisor, and that was the plea that you have signed." Id. Accordingly, because Kern cannot

 show that his counsel's performance in plea negotiations was deficient, he is not entitled to relief

 on that ground. See Groves, 755 F.3d at 591 ("If [a petitioner] is unable to make a sufficient

 showing of one of the Strickland prongs, [the Court] need not consider the other.") (citing

 Strickland, 466 U.S. at 697).
Case 3:19-cv-00146-RLY-MPB Document 15 Filed 02/23/21 Page 5 of 8 PageID #: 133




                2. Downward Departure Based on Criminal History

        Next, Kern argues that his counsel was ineffective for failing to object to Kern's criminal

 history category and seek a downward departure based on his criminal history. Dkt. 2 at 7-10.

 This argument is likewise without merit because Kern's plea agreement included a stipulated

 sentence of 216 months' imprisonment, to which the Court ultimately sentenced him in keeping

 with the parties' plea agreement. Therefore, his counsel's attempt to seek additional downward

 departure would have been futile as it would not have affected his sentence. Faucett v. United

 States, 872 F.3d 506, 512 (7th Cir. 2017) ("Refraining from a meritless sentencing argument

 cannot be characterized as objectively unreasonable."). For that same reason, since any objection

 would have been overruled as meritless, Kern's attorney was not constitutionally deficient for

 failing to object. See Lambert v. McBride, 365 F.3d 557, 564 (7th Cir. 2004) (finding no deficient

 performance where the proposed objection would have been overruled if made). See also Northern

 v. Boatwright, 594 F.3d 555, 561 (7th Cir. 2010) ("[O]bviously, an attorney is not constitutionally

 deficient for failing to lodge a meritless objection."). His attorney was therefore not deficient, and

 Kern is not entitled to relief on this ground. Groves, 755 F.3d at 591.

        B. Knowing and Voluntary Plea

        Finally, Kern argues that he is entitled to relief because his guilty plea was not voluntary.

 Kern contends that his plea was not voluntary because he was housed at Henderson County

 Detention Center and "believed accepting the government's plea agreement was his only way out."

 Dkt. 2 at 11-13.

        "In order for a plea to be valid, it must be made voluntarily, knowingly, and intelligently."

 United States v. Hays, 397 F.3d 564, 567 (7th Cir. 2005). "A guilty plea is intelligent and knowing

 when the defendant is competent, aware of the charges and advised by competent counsel." United
Case 3:19-cv-00146-RLY-MPB Document 15 Filed 02/23/21 Page 6 of 8 PageID #: 134




 States v. Jordan, 870 F.2d 1310, 1317 (7th Cir. 1989). A defendant's sworn statements during a

 Rule 11 plea colloquy are presumed to be true. United States v. Graf, 827 F.3d 581, 584 (7th Cir.

 2016). A defendant "cannot obtain relief by the expedient of contradicting statements freely made

 under oath, unless there is a compelling reason for the disparity." Nunez v. United States, 495 F.3d

 544, 546 (7th Cir. 2007), judgment vacated and remanded on other grounds, 554 U.S. 911 (2008).

        Here, at the plea hearing, the Court conducted a thorough colloquy pursuant to Rule 11.

 See Crim Dkt. 61. The Court confirmed that Kern understood the nature of the charge against him,

 the elements of the offense the government would need to prove, the maximum penalty possible

 under the charge, and the applicability of the sentencing guidelines. Kern, sworn under oath,

 affirmed his understanding of the charges against him, the terms of the plea agreement, and entered

 his plea of guilty. And the Court accepted his plea as knowing and voluntary, stating the following:

        It is the finding of the Court in the case of United States of America versus Anthony
        Kern, the defendant is fully competent and capable of entering an informed plea.
        The defendant is aware of the nature of the charges and the consequences of his
        plea, and that the plea of guilty is a knowing and voluntary plea supported by an
        independent basis in fact containing each of the essential elements of that charge in
        the indictment. The plea is therefore accepted. The defendant is now adjudged
        guilty of that charge in the indictment.

 Id. at 22-23.

        Kern fails to provide a compelling reason why the statements he made to the Court are now

 false. Despite several opportunities to do so during the change of plea hearing, Kern never objected

 to the plea agreement, never informed the Court he was dissatisfied with his attorney, and never

 asserted that he was being coerced. Rather, he stated that he was pleading guilty of his own free

 will, having understood his charge and the potential sentencing, and that he was satisfied with his

 attorney's assistance. His statements to the Court are given a "strong presumption of verity,"

 United States v. Silva, 1"2 F.3d 412, 415 (7th Cir. 1997) (quoting Blackledge v. Allison, 431 U.S.
Case 3:19-cv-00146-RLY-MPB Document 15 Filed 02/23/21 Page 7 of 8 PageID #: 135




 63, 74 (1977)), because "when the judge credits the defendant's statements in open court, the game

 is over," United States v. Stewart, 198 F.3d 984, 987 (7th Cir. 1999). "[A] defendant has no chance

 of success on appeal when the judge elects to treat freely given sworn statements as conclusive.

 Entry of a plea is not some empty ceremony, and statements made to a federal judge in open court

 are not trifles that defendants may elect to disregard." Id. Without more, Kern cannot now allege

 that his statements in court were untruthful. Accordingly, Kern's allegation that he was coerced

 into taking the plea agreement must also be rejected.

                                           IV. Conclusion

        For the reasons explained in this Order, Kern is not entitled to relief on his § 2255 motion.

 He did not receive ineffective assistance of counsel and his plea was knowing and voluntary.

 Accordingly, his motion for relief pursuant to § 2255 is denied and this action is dismissed with

 prejudice. Judgment consistent with this Order shall now issue and the clerk shall docket a copy

 of this Order in 3:15-cr-00039-RLY-CMM-1. The motion to vacate, Crim. Dkt. [59], shall also

 be terminated in the underlying criminal action.

                             V. Denial of Certificate of Appealability

        A habeas petitioner does not have the absolute right to appeal a district court's denial of his

 habeas petition. Rather, he must first request a certificate of appealability. See Miller-El v.

 Cockrell, 537 U.S. 322, 335 (2003); Peterson v. Douma, 751 F.3d 524, 528 (7th Cir. 2014).

 Pursuant to Federal Rule of Appellate Procedure 22(b), Rule 11(a) of the Rules Governing § 2255

 Proceedings, and 28 U.S.C. § 2253(c), the Court finds that Kern has failed to show that reasonable

 jurists would find "it debatable whether the petition states a valid claim of the denial of a

 constitutional right" and "debatable whether [this Court] was correct in its procedural ruling."

 Slack v. McDaniel, 529 U.S. 473, 484 (2000).
Case 3:19-cv-00146-RLY-MPB Document 15 Filed 02/23/21 Page 8 of 8 PageID #: 136




        The Court therefore denies a certificate of appealability.

        IT IS SO ORDERED.


        Date:     2/23/2021




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